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UNITED STATES DISTRICT COURT

 

 

for the
District of Columbia
United States of America
v. ) Case: 1:21-mj-00326

Elizabeth Rose Williams Assigned To : Meriweather, Robin M.

) Assign. Date : 3/19/2021

Description: Complaint w/ Arrest Warrant

Defendant

ARREST WARRANT

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) Elizabeth Rose Williams __
who is accused of an offense or violation based on the following document filed with the court: ee
O1 Indictment O Superseding Indictment 1 Information © Superseding Information J Complaint
0 Probation Violation Petition O) Supervised Release Violation Petition OViolation Notice Order of the Court

This offense is briefly described as follows:

18 U.S.C. §§ 1752(a)(1), and (2) - Knowingly Entering or Remaining in any Restricted Building or
Grounds Without Lawful Authority and with Intent to Impede or Disrupt the Orderly Conduct of

Government Business or Official Functions); and
40 U.S.C. § 5104(e)(2)(D) and § 5104(e)(2)(G) - Violent Entry and PS Conduct on Capitol

Grounds. 2021.03.19
11:38:34 -04'00'

Issuing officer’s signature

Robin M. Meriweather, U.S. Magistrate Judge

Printed name and title

 

 

Date: 03/19/2021

City and state: Washington, D.C.

 

Return

: 62
This warrant was received on ( a , and the persop/was arrested on (date) _ 3/a3}2ey _
at (city and state) rae. s) [ E

 

 

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: : "Arresting Uf 's signature
eat name and title i,
eee

 

 

 
